Case 1:04-cr-10061-.]DT Document 188 Filed 07/12/05 Page 1 of 2 Page|D 253

 

F l L E D BY
IN THE UNITED sTATEs DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEE JUL 1 2 2005
EASTERN DIVISION
Thomas M. Gould, Cl\nk
\J. S. Distdct Coun
W. D. OF TN. Jackson
UNITED srATEs oF AMERICA
vs CR No. 1;04-10061-01-T
TRA\/ls LYNN MCCOY

AMENDED ORDER ON CHANGE OF PLEA
This cause came on to be heard on July 7, 2005, Assistant U. S. Attorney,
Jerry Kitchen, appearing for the government, and the defendant appeared in person
and With counsel, J. Colin Morris, who Was appointedl
With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts l and 9 of the Indictment.

This case has been set for sentencing on Mondav , October 6, 2005l at 8:30

The defendant is remanded to the custody of the United States Marshal.

.T S D. TODD
ED STATES DISTRICT JUDGE

smc // <ZM/{} W§`

IT IS SO ORDERED.

Thls document entered on the docket sheet in comptia£e_g
with Hule 55 and!or 32[b) FF{CrP on

/a’f

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 188 in
case 1:04-CR-10061 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listedl

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

J. Colin Morris

MOSIER & l\/IORRIS7 P.A.

204 W. Baltimore
Jacl<son7 TN 3 8302--162

Honorable J ames Todd
US DISTRICT COURT

